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Attorneys for Plaintiffs


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  CRYSTAL LAGOONS U.S. CORP. AND           JOINT STATUS REPORT AND CLAIM
  CRYSTAL LAGOONS TECHNOLOGIES                  CONSTRUCTION CHART
  INC.,
                                                Case No. 2:19-cv-00796-BSJ
                  Plaintiffs,
                                               District Judge Bruce S. Jenkins
          vs.
                                                   JURY DEMANDED
  CLOWARD H2O LLC,

                 Defendant
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       In accordance with the Scheduling Order in the above captioned action and this Judicial

District’s Local Patent Rules, Plaintiffs Crystal Lagoons U.S. Corp. and Crystal Lagoons

Technologies Inc. (“Crystal Lagoons”) and Defendant Cloward H2O LLC (“Cloward”), set forth

their Joint Status Report and Claim Construction Chart with respect to the asserted claims of

United States Patent Nos. 8,062,514 (the “’514 Patent”), 8,753,520 (the “’520 Patent”), and

9,708,822 (the “’822 Patent”) (collectively the “patents-in-suit”) to be construed by the Court

during the Claim Construction Hearing presently set for July 26, 2021, at 10:00 a.m., or as soon

thereafter as the Court can accommodate the hearing.

                                      Claim Constructions

       Exhibit A lists each claim term and each party’s respective proposed construction.

                    Nature and Form of the Claim Construction Hearing

       The parties anticipate that one full court day will be necessary for the Claim Construction

Hearing. The parties would prefer, pursuant to Phase 2 of this Court’s Resumption of In-Person

Court Proceedings, that the hearing take place in person. The parties would recommend that the

hearing proceed on a term-by-term basis, with each party presenting argument on each disputed

claim term or phrase before moving on to the next term or phrase. Both parties anticipate making

arguments using multimedia presentations and request that appropriate connections to court

audiovisual resources be provided.

                                     Prehearing Conference

       The parties do not believe that a prehearing conference is necessary but will appear at any

such conference ordered by the Court.




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Dated: June 21, 2021



 By:    /s/ James C. Watson        .                /s/ Jared J. Braithwaite       .

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